Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 1 of 158 PageID: 973
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 2 of 158 PageID: 974
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 3 of 158 PageID: 975
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 4 of 158 PageID: 976
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 5 of 158 PageID: 977
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 6 of 158 PageID: 978
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 7 of 158 PageID: 979
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 8 of 158 PageID: 980
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 9 of 158 PageID: 981
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 10 of 158 PageID: 982
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 11 of 158 PageID: 983
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 12 of 158 PageID: 984
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 13 of 158 PageID: 985
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 14 of 158 PageID: 986
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 15 of 158 PageID: 987
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 16 of 158 PageID: 988
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 17 of 158 PageID: 989
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 18 of 158 PageID: 990
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 19 of 158 PageID: 991
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 20 of 158 PageID: 992
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 21 of 158 PageID: 993
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 22 of 158 PageID: 994
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 23 of 158 PageID: 995
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 24 of 158 PageID: 996
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 25 of 158 PageID: 997
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 26 of 158 PageID: 998
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 27 of 158 PageID: 999
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 28 of 158 PageID: 1000
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 29 of 158 PageID: 1001
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 30 of 158 PageID: 1002
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 31 of 158 PageID: 1003
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 32 of 158 PageID: 1004
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 33 of 158 PageID: 1005
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 34 of 158 PageID: 1006
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 35 of 158 PageID: 1007
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 36 of 158 PageID: 1008
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 37 of 158 PageID: 1009
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 38 of 158 PageID: 1010
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 39 of 158 PageID: 1011
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 40 of 158 PageID: 1012
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 41 of 158 PageID: 1013
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 42 of 158 PageID: 1014
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 43 of 158 PageID: 1015
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 44 of 158 PageID: 1016
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 45 of 158 PageID: 1017
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 46 of 158 PageID: 1018
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 47 of 158 PageID: 1019
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 48 of 158 PageID: 1020
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 49 of 158 PageID: 1021
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 50 of 158 PageID: 1022
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 51 of 158 PageID: 1023
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 52 of 158 PageID: 1024
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 53 of 158 PageID: 1025
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 54 of 158 PageID: 1026
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 55 of 158 PageID: 1027
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 56 of 158 PageID: 1028
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 57 of 158 PageID: 1029
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 58 of 158 PageID: 1030
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 59 of 158 PageID: 1031
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 60 of 158 PageID: 1032
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 61 of 158 PageID: 1033
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 62 of 158 PageID: 1034
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 63 of 158 PageID: 1035
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 64 of 158 PageID: 1036
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 65 of 158 PageID: 1037
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 66 of 158 PageID: 1038
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 67 of 158 PageID: 1039
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 68 of 158 PageID: 1040
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 69 of 158 PageID: 1041
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 70 of 158 PageID: 1042
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 71 of 158 PageID: 1043
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 72 of 158 PageID: 1044
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 73 of 158 PageID: 1045
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 74 of 158 PageID: 1046
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 75 of 158 PageID: 1047
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 76 of 158 PageID: 1048
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 77 of 158 PageID: 1049
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 78 of 158 PageID: 1050
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 79 of 158 PageID: 1051
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 80 of 158 PageID: 1052
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 81 of 158 PageID: 1053
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 82 of 158 PageID: 1054
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 83 of 158 PageID: 1055
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 84 of 158 PageID: 1056
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 85 of 158 PageID: 1057
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 86 of 158 PageID: 1058
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 87 of 158 PageID: 1059
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 88 of 158 PageID: 1060
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 89 of 158 PageID: 1061
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 90 of 158 PageID: 1062
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 91 of 158 PageID: 1063
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 92 of 158 PageID: 1064
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 93 of 158 PageID: 1065
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 94 of 158 PageID: 1066
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 95 of 158 PageID: 1067
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 96 of 158 PageID: 1068
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 97 of 158 PageID: 1069
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 98 of 158 PageID: 1070
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 99 of 158 PageID: 1071
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 100 of 158 PageID: 1072
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 101 of 158 PageID: 1073
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 102 of 158 PageID: 1074
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 103 of 158 PageID: 1075
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 104 of 158 PageID: 1076
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 105 of 158 PageID: 1077
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 106 of 158 PageID: 1078
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 107 of 158 PageID: 1079
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 108 of 158 PageID: 1080
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 109 of 158 PageID: 1081
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 110 of 158 PageID: 1082
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 111 of 158 PageID: 1083
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 112 of 158 PageID: 1084
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 113 of 158 PageID: 1085
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 114 of 158 PageID: 1086
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 115 of 158 PageID: 1087
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 116 of 158 PageID: 1088
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 117 of 158 PageID: 1089
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 118 of 158 PageID: 1090
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 119 of 158 PageID: 1091
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 120 of 158 PageID: 1092
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 121 of 158 PageID: 1093
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 122 of 158 PageID: 1094
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 123 of 158 PageID: 1095
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 124 of 158 PageID: 1096
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 125 of 158 PageID: 1097
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 126 of 158 PageID: 1098
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 127 of 158 PageID: 1099
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 128 of 158 PageID: 1100
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 129 of 158 PageID: 1101
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 130 of 158 PageID: 1102
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 131 of 158 PageID: 1103
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 132 of 158 PageID: 1104
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 133 of 158 PageID: 1105
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 134 of 158 PageID: 1106
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 135 of 158 PageID: 1107
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 136 of 158 PageID: 1108
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 137 of 158 PageID: 1109
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 138 of 158 PageID: 1110
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 139 of 158 PageID: 1111
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 140 of 158 PageID: 1112
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 141 of 158 PageID: 1113
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 142 of 158 PageID: 1114
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 143 of 158 PageID: 1115
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 144 of 158 PageID: 1116
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 145 of 158 PageID: 1117
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 146 of 158 PageID: 1118
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 147 of 158 PageID: 1119
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 148 of 158 PageID: 1120
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 149 of 158 PageID: 1121
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 150 of 158 PageID: 1122
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 151 of 158 PageID: 1123
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 152 of 158 PageID: 1124
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 153 of 158 PageID: 1125
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 154 of 158 PageID: 1126
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 155 of 158 PageID: 1127
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 156 of 158 PageID: 1128
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 157 of 158 PageID: 1129
Case 2:21-cv-16397-MCA-JSA Document 26 Filed 04/18/22 Page 158 of 158 PageID: 1130
